   Case 4:05-cv-00255-RP-TJS Document 255 Filed 02/23/09 Page 1 of 1




              Supreme Court of the United States

                            No.    08A711 (08-1065)


                POTTAWATTAMIE COUNTY, IOWA, ET AL.,

                                                      Applicants
                                        v.


                      CURTIS W. MCGHEE, JR., ET AL.



                                   ORDER



      UPON CONSIDERATION of the application of counsel for the

applicants, the responses filed thereto, and the reply,

      IT IS ORDERED that the proceedings in the United States District

Court for the Southern District of Iowa, in case Nos. 4:05-cv-00255 and 4:05-

cv-00178, are stayed pending disposition of the petition for a writ of

certiorari. Should the petition for a writ of certiorari be denied, this stay

shall terminate automatically. In the event the petition for a writ of

certiorari is granted, the stay shall terminate upon the sending down of the

judgment of this Court.



                                                  /s/ Samuel A. Alito, Jr.
                                              Associate Justice of the Supreme
                                                 Court of the United States

Dated this 20th
day of February, 2009.
